                                   Case 8:22-cv-00221-SSS-JDE Document 32 Filed 02/01/23 Page 1 of 3 Page ID #:145




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                               7 Attorneys for Plaintiff,
                                 Jamie Kovacs
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                              10                      UNITED STATES DISTRICT COURT
                                                                FOR THE
THE CARDOZA LAW CORPORATION




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                                                     CENTRAL DISTRICT OF CALIFORNIA
    SAN FRANCISCO, CA 94104




                              12
     548 MARKET ST. #80594




                                     JAMIE KOVACS,                        Case No.: 8:22-cv-00221-SSS-JDE
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                                                 Plaintiff,               HON. SUNSHINE S. SYKES
                              14                                          HON. MAG. JOHN D. EARLY
                                                           v.
                              15                                          NOTICE OF SETTLEMENT
                                     CONVERGENT
                              16     OUTSOURCING, INC. AND
                                     CACH, LLC,
                              17
                              18                  Defendants.
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                                    NOTICE OF SETTLEMENT
                                   Case 8:22-cv-00221-SSS-JDE Document 32 Filed 02/01/23 Page 2 of 3 Page ID #:146




                               1 TO THE COURT:
                               2          The Plaintiff, through counsel, hereby submits this Notice of Settlement to
                               3 notify the Court that the lawsuit has been settled, and respectfully requests that the
                               4 Court grant Plaintiff until April 3, 2023 to file the expected Stipulation of Dismissal.
                               5
                               6 Respectfully submitted,
                               7                                          THE CARDOZA LAW CORPORATION
                               8 DATED: February 1, 2023                  BY: /S/LAUREN B. VEGGIAN
                               9                                          MICHAEL F. CARDOZA, ESQ.
                                                                          LAUREN B. VEGGIAN, ESQ.
                              10                                          ATTORNEYS FOR PLAINTIFF,
                                                                          JAMIE KOVACS
THE CARDOZA LAW CORPORATION




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    SAN FRANCISCO, CA 94104




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     548 MARKET ST. #80594




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                                    NOTICE OF SETTLEMENT                                                 PAGE 1 OF 1
                                   Case 8:22-cv-00221-SSS-JDE Document 32 Filed 02/01/23 Page 3 of 3 Page ID #:147




                               1                             CERTIFICATE OF SERVICE
                               2          I, Lauren B. Veggian, am the ECF user whose identification and password
                               3 are being used to file this document.
                               4          I also hereby certify that on February 1, 2023, I electronically filed a true and
                               5 correct copy of the foregoing NOTICE OF SETTLEMENT with the Clerk of the
                               6 Court for the United States District Court of California for the Central District of
                               7 California using the CM/ECF system. I also certify that all participants in this case
                               8 are registered CM/ECF users, and service will be accomplished by the CM/ECF
                               9 system.
                              10
                              11                                            THE CARDOZA LAW CORPORATION
THE CARDOZA LAW CORPORATION




                                                                            BY: /S/ LAUREN B. VEGGIAN
    SAN FRANCISCO, CA 94104




                              12 DATED: February 1, 2023
     548 MARKET ST. #80594




                              13                                            LAUREN B. VEGGIAN, ESQ.
                                                                            ATTORNEY FOR PLAINTIFF,
                              14                                            JAMIE KOVACS
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                                    CERTIFICATE OF SERVICE
